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 4                                UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                  Case No. 2:12-cr-00400-MMD-GWF
                                               )
 9   vs.                                       )                  ORDER
                                               )
10   ASHLEE MARTIN, et al.,                    )
                                               )
11                     Defendants.             )
     __________________________________________)
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            This matter is before the Court on Defendant Ashlee Martin’s Motion to Modify Conditions
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     of Release (#83), filed March 8, 2013. The motion is unopposed. Pursuant to Local Criminal Rule
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     47-9, “[t]he failure of an opposing party to file points and authorities in response to any motion
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     shall constitute consent to the granting of the motion.” Accordingly,
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            IT IS HEREBY ORDERED that Defendant Ashlee Martin’s Motion to Modify
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     Conditions of Release (#83) is granted.
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            DATED this 9th day of April, 2013.
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                                                   ______________________________________
21                                                 C.W. Hoffman, Jr.
                                                   United States Magistrate Judge
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